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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :       Case No. 22-cr-354 (RCL)
                                             :
RICHARD SLAUGHTER and                        :
CADEN PAUL GOTTFRIED,                        :       May 30, 2023
                                             :
               Defendants.                   :

                                 NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby informs the Court that

Assistant United States Attorney Katherine E. Boyles is entering her appearance in the above-

captioned matter as counsel for the United States.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                             By:     /s/ Katherine E. Boyles
                                                     Katherine Boyles
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